Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 1 of 22




               EXHIBIT 4
         Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 2 of 22



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11

12                                  UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA
14                                       SAN FRANCISCO DIVISION
15  IN RE CATHODE RAY TUBE (CRT)                        No. 07-cv-5944-SC
16 ANTITRUST LITIGATION                                 MDL No. 1917

                                                        AMENDED ANSWER OF THOMSON SA
17   This Document Relates to:                          TO BEST BUY CO., INC., ET AL.’S
                                                        COMPLAINT
18   Best Buy Co., Inc., et al. v. Technicolor SA, et
19   al., No. 13-cv-05264;

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     AMENDED ANSWER OF THOMSON SA TO                                        No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL. ’S COMPLAINT
        Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 3 of 22



 1           Defendant Technicolor SA, f/k/a Thomson SA ("Thomson SA"), by and through its

 2   undersigned counsel of record, answers Best Buy Co., Inc.; Best Buy Purchasing LLC; Best Buy

 3   Enterprise Services, Inc.; Best Buy Stores, L.P.; BestBuy.com , L.L.C.; and Magnolia Hi-Fi, LLC’s

 4   (collectively "Plaintiffs") Complaint and alleges additional or affirmative defenses as follows.

 5   Thomson SA denies each and every allegation in the Complaint’s section headings and in all

 6   portions of the Complaint not contained in numbered paragraphs. To the extent that the

 7   Complaint’s allegations concern persons or entities other than Thomson SA, Thomson SA denies

 8   that such allegations support any claim for relief against Thomson SA. Thomson SA denies any

 9   allegations not explicitly admitted herein.

10           1.      Thomson SA denies the allegations in Paragraphs 12, 13, 14, 26, 31, 37, 106, and

11   160 of Plaintiffs’ Complaint. To the extent these paragraphs consist of definitional allegations, no

12   response is required and Thomson SA therefore denies them.

13           2.      To the extent that the allegations in Paragraphs 1, 4, 5 through 7, 10,   15, 16, 17, 24,

14   38, 92 through 97, 105, 107 through 110, 112, 114, 117, 118, 121 through 150,       157, 185, 187, 191,

15   192, 194, 195, 196, 208, 209, 219 through 221, 232, 236, 237, 238 through 250, 252 through 255,

16   257 through 260, 262, and 264 through 269 of Plaintiffs’ Complaint relate to persons or entities

17   other than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief

18   about their truth and therefore denies them. To the extent the allegations in those paragraphs relate

19   to Thomson SA, Thomson SA denies them unless expressly admitted below. Further, Thomson SA

20   denies that it manufactured CRTs or CRT Products, but admits that Thomson Consumer

21   manufactured CPTs and CPT Products. Thomson SA admits on information and belief that other

22   companies alleged to be conspirators in the Complaint have manufactured CPTs and CDTs, but

23   denies that Thomson SA engaged in any conspiracy. To the extent the allegations in those

24   paragraphs purport to define markets or market activity which require expert opinion and testimony,

25   Thomson SA denies them. To the extent the allegations in those paragraphs are definitional

26   allegations, no response is required and Thomson SA therefore denies these allegations.

27           3.      Thomson SA lacks knowledge or information sufficient to form a belief about the

28   truth of the allegations in Paragraphs 18 through 23,    25, 34, 35, 36, 39 through 89, 99, 103, 104,
     AMENDED ANSWER OF THOMSON SA TO                1                         No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL.’S COMPLAINT
        Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 4 of 22



     111, 113, 115, 116, 119, 120, 161 through 182, 210, 211 through 215, 217, 223 through 226, 229,

 2   234, and 261 of Plaintiffs’ Complaint and therefore denies them.

 3           4.     To the extent that the allegations in Paragraphs 9, 183 through 186, 188, 189, 190,

 4   193, 198 through 206, 216, 218, 222, 227, 228, 230, 231, 233, 235, and 256 of Plaintiffs’ Complaint

 5   purport to characterize written documents, Thomson SA denies that Plaintiffs have accurately or

 6   completely interpreted, characterized, or stated the substance or context of the written documents

 7   and therefore denies these allegations. To the extent those paragraphs contain additional allegations

 8   that relate to persons or entities other than Thomson SA, Thomson SA lacks knowledge or

 9   information sufficient to form a belief about their truth and therefore denies them. To the extent

10   those paragraphs contain allegations that relate to Thomson SA, Thomson SA denies them unless

11   expressly admitted below. To the extent the allegations in those paragraphs purport to define

12   markets or market activity which require expert opinion and testimony, Thomson SA denies them.

13           5.     Thomson SA admits that the allegations in Paragraphs 98, 100, 101, and 102 purport

14   to contain descriptions of CRT technology and history. Thomson SA denies that these allegations

15   completely and accurately describe all variants of CRT technology and therefore denies them. To

16   the extent the allegations in those paragraphs purport to define markets or market activity which

17   require expert opinion and testimony, Thomson SA denies them.

18           6.     With regard to the allegations in Paragraphs 2 and 3 of Plaintiffs’ Complaint,

19   Thomson SA denies that it manufactured CRTs or CRT Products, but admits that Thomson

20   Consumer manufactured CPTs and CPT Products. Thomson SA admits on information and belief

21   that other companies alleged to be conspirators in the Complaint have manufactured CPTs and

22   CDTs, but denies that Thomson SA engaged in any conspiracy. Thomson SA denies that it

23   controlled the "majority of the CRT industry" during the relevant period. Thomson SA lacks

24   knowledge or information sufficient to form a belief about the truth of the other allegations in

25   Paragraphs 2 and 3 and therefore denies them. To the extent the allegations in Paragraphs 2 and 3

26   are definitional allegations, no response is required and Thomson SA therefore denies these

27   allegations.

28
     AMENDED ANSWER OF THOMSON SA TO               2                         No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., FT AL.’S COMPLAINT
        Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 5 of 22



 1          7.      With regard to the allegations in Paragraph 8 of Plaintiffs’ Complaint, Thomson SA

 2   admits that European, Mexican, and Brazilian authorities have investigated Thomson SA, but denies

 3   that those investigations have any relation to the United States CRT market or have alleged or found

 4   violations of United States antitrust laws. Thomson SA further admits that Thomson Consumer was

 5   subpoenaed by the Department of Justice, but states that Thomson Consumer has not been subjected

 6   to any criminal enforcement actions in the United States or ever entered into a plea agreement with

 7   the Department of Justice. Thomson SA is aware that several individuals, including C.Y. Lin, have

 8   been indicted for violations of antitrust laws, but denies that it participated in any price-fixing

 9   conspiracy with these individuals or that the actions of those individuals had any relation to the

10   allegations concerning Thomson Consumer’s activities in the United States CPT market.

11          8.      With regard to the allegations in Paragraph 11 of Plaintiffs’ Complaint, Thomson SA

12   admits that this case is properly related and consolidated with MDL No. 1917, but denies that it

13   participated in any conspiracy or engaged in any unlawful conduct in violation of federal and state

14   antitrust laws and denies that the MDL court has jurisdiction over Thomson SA. Thomson SA

15   denies any remaining allegations in Paragraph 11.

16          9.      With regard to the first three sentences of Paragraph 27, Thomson SA admits that it

17   is a French corporation with its principal place of business located at 1-5 Rue Jeanne d’Arc, 92130

18   Issy-les-Moulineaux, France, but denies that Thomson SA ever manufactured, marketed, sold, or

19   distributed CRT products to customers in the United States and denies the remaining allegations in

20   the first three sentences. Thomson SA denies the allegations in the fourth sentence. To the extent

21   that the allegations in the fifth through tenth sentences purport to characterize a written document,

22   Thomson SA denies that Plaintiffs accurately or completely interpreted, characterized, or stated the

23   substance or context of the written document and therefore denies those allegations except as

24   expressly admitted herein. With regard to the fifth sentence, Thomson SA admits that it sold its

25   CRT business to Videocon Industries, Ltd. in 2005 for 240 million. With regard to the sixth

26   sentence, Thomson SA admits that it invested 240 million in Videocon Industries, Ltd. in 2005 in

27   exchange for 28,867,200 shares of stock, but denies that the investment was "simultaneous" and

28   denies the remainder of the allegations in that sentence. Thomson SA states that the seventh
     AMENDED ANSWER OF THOMSON SA TO               3                          No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL.’S COMPLAINT
        Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 6 of 22



 1   sentence is vague and ambiguous with respect to "help," "run the CRT business," and "transition

 2   period," and therefore denies the allegations in that sentence. Thomson SA lacks information or

 3   belief sufficient to form a belief about the truth of the allegations in the eighth sentence, despite

 4   diligent efforts to locate relevant documents, and therefore denies these allegations. Further,

 5   Thomson SA states that the references to "Thomson" in the seventh and eighth sentences of

 6   Paragraph 27 are vague and ambiguous, and therefore denies the allegations in those sentences to

 7   the extent not expressly admitted herein. With regard to the ninth sentence, Thomson SA admits

 8   that Section 3.1 of the Shareholders’ Agreement between Thomson SA and Videocon provided that

 9   "One member of the Board of Directors shall be nominated by Thomson," and admits that a

10   Thomson SA employee held a seat on the Videocon Board of Directors until 2009. With regard to

11   the tenth sentence, Thomson SA admits that it was a minority shareholder in Videocon affiliated

12   entities from July 2005 through the end of the Relevant Period, but otherwise denies that Plaintiffs’

13   allegations completely and accurately describe Thomson SA’s stock ownership in Videocon

14   affiliated entities during that time period. Thomson SA denies that its ownership interest in

15   Videocon at any point during the allegedly Relevant Period is legally significant in relation to the

16   claims alleged in the Complaint. Thomson SA admits that it changed its name to Technicolor SA

17   on or about January 2010. Thomson SA denies the allegations in the twelfth sentence of Paragraph

18   27. Except as specifically admitted herein, Thomson SA denies the remaining allegations of

19   Paragraph 27 in their entirety. Thomson SA denies any remaining allegations in Paragraph 27.

20           10.    With regard to the first four sentences of Paragraph 28, Thomson SA admits that

21   Thomson Consumer Electronics, Inc. is now known as Technicolor USA, Inc. and that it is a

22   Delaware corporation with its principal place of business located at 1033 N. Meridian Street,

23   Indianapolis, Indiana 47290-1024. Thomson SA admits that Thomson Consumer is wholly owned

24   by Thomson SA, admits that Thomson Consumer had manufacturing plants in Scranton,

25   Pennsylvania and Marion, Indiana during portions of the Relevant Period, but denies that Thomson

26   Consumer directly owned CRT manufacturing plants in Mexicali, Mexico. Thomson SA admits

27   that Thomson Consumer sold CPTs for use in CRT televisions to television manufacturers in North

28   America during the portions of the Relevant Period, but denies the remaining allegations in the first
     AMENDED ANSWER OF THOMSON SA TO               4                         No. 07-5944-SC; MDL No. 1917
     BEST BUY CO.. INC.. ET AL’S COMPLAINT
        Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 7 of 22



     through fourth sentences. To the extent that the allegations in sentences five through ten purport to

 2   characterize a written document, Thomson SA denies that Plaintiffs accurately or completely

 3   interpreted, characterized, or stated the substance or context of the written document, and therefore

 4   denies those allegations except as expressly admitted herein. With regard to the fifth sentence,

 5   Thomson SA admits that Thomson Consumer’s CRT business was sold to Videocon Industries, Ltd.

 6   in 2005. With regard to the allegation in the sixth through tenth sentences, Thomson SA

 7   incorporates by reference its responses to the identical allegations in Paragraph 27. Thomson SA

 8   states that the eleventh sentence is vague in regards to timeframe and denies the allegations in that

 9   sentence, except that it admits that Thomson Displays America LLC was wholly owned by

10   Thomson Consumer before it was transferred to Videocon in July 2005. With regard to the twelfth

11   sentence, Thomson SA admits that Thomson Consumer changed its name to Technicolor USA, inc.

12   in or about June 2010. With regard to the thirteenth sentence, Thomson SA admits that prior to the

13   sale of its CRT business in 2005, Thomson Consumer manufactured, marketed, sold, or distributed

14   CPT Products in the United States, but otherwise denies the allegations in that sentence. Thomson

15   SA denies the remaining allegations of Paragraph 28 in their entirety.

16           11.    With regard to the allegations in Paragraph 29, to the extent these allegations state

17   legal contentions, no response is required. With regard to the allegations in sentence one, Thomson

18   SA admits that it had sufficient minimum contacts with the United States during the Relevant

19   Period to be subject to specific personal jurisdiction in the United States with respect to this action

20   only. Thomson SA denies the allegations in sentences two through eight in their entirety. To the

21   extent that the allegations in sentences nine through fourteen purport to characterize written

22   documents, Thomson SA denies that Plaintiffs accurately or completely interpreted, characterized,

23   or stated the substance or context of the written documents and therefore denies those allegations.

24   Thomson Consumer admits that the employees listed in sentences twelve and thirteen worked for

25   Thomson SA and/or Thomson Consumer during the Relevant Period, but denies that the

26   characterizations of employee titles, roles, and employment dates are accurate or complete and

27   therefore denies these allegations. Thomson SA further denies the allegations contained in sentence

28   fourteen because the term ’stationed" is ambiguous and the allegations are vague as to time.
     AMENDED ANSWER OF THOMSON SA TO                5                          No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL.’S COMPLAINT
        Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 8 of 22



 1           12.    With regard to the allegations in Paragraph 30 of Plaintiffs’ Complaint, Thomson SA

 2   admits that the allegations quote parts of its 2011 and 2012 Annual Reports, but denies any

 3   emphasis or alterations in the quoted text and denies that it admitted to any wrongdoing in its

 4   Annual Reports. Thomson SA also admits that the European Commission levied a fine of

 5   38,631,000 million against it in 2012, but denies that the European Commission’s investigation or

 6   allegations involved any violation of United States antitrust laws or had any relation to the United

 7   States CRT market. Thomson SA denies any remaining allegations in Paragraph 30.

 8           13.    With regard to the allegations in Paragraph 32 of Plaintiffs’ Complaint, Thomson SA

 9   states that any references to "Thomson" are vague and ambiguous and therefore denies such

10   allegations to the extent not expressly admitted herein. To the extent that the allegations of

11   Paragraph 32 purport to characterize a written document, Thomson SA denies that Plaintiffs

12   accurately or completely interpreted, characterized, or stated the substance or context of the written

13   document, and therefore denies those allegations. Thomson SA lacks knowledge or information

14   sufficient to form a belief as to the truth of the allegations contained in the first sentence and

15   therefore denies them. Thomson SA admits the allegations contained in the second and third

16   sentences of Paragraph 32. With regard to the fourth through eighth sentences, Thomson SA

17   incorporates by reference its responses to the substantially identical allegations in sentences six

18   through ten of Paragraph 27. In response to the ninth sentence, Thomson SA states that pursuant to

19   a September 30, 2005 Addendum to Share Purchase Agreement between Eagle Corporation and

20   Thomson SA, the purchase price paid by Eagle Corporation was allocated in part "for the interest in

21   Thomson Displays Americas LLC" and "for the shares of Mexicana," among other allocations.

22   Thomson SA lacks knowledge or information sufficient to form a belief about the truth of the

23   allegations in sentences ten and eleven, and therefore denies these allegations. Thomson SA denies

24   that any of the allegations in Paragraph 32 concerning Thomson SA’s agreement with and

25   continued interest in Videocon support in any way Plaintiffs’ allegations that Thomson SA violated

26   any laws. Thomson SA denies any remaining allegations in Paragraph 32.

27           14.    With regard to the allegations in Paragraph 33 of Plaintiffs’ Complaint, Thomson SA

28   states that any references to "Thomson" are vague and ambiguous and therefore denies such
     AMENDED ANSWER OF THOMSON SA 10                6                          No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL.’S COMPLAINT
        Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 9 of 22



 1   allegations to the extent not expressly admitted herein. To the extent that the allegations of

 2   Paragraph 33 purport to characterize a written document, Thomson SA denies that Plaintiffs

 3   accurately or completely interpreted, characterized, or stated the substance or context of the written

 4   document, and therefore denies those allegations. Thomson SA lacks knowledge or information

 5   sufficient to form a belief about the truth of the allegations in sentences one and two, except that

 6   Thomson SA admits that TDA was formerly known as Thomson Displays Americas LLC. With

 7   regard to the third through sixth sentences, Thomson SA admits that Thomson Consumer

 8   transferred certain assets to TDA as a capital contribution in 2005 in connection with the sale of its

 9   CRT business to Videocon; despite diligent and ongoing searches for relevant records, however,

10   Thomson SA lacks knowledge or information sufficient to form a belief about the truth of the

11   remaining allegations regarding the details of the transfer of assets and rights, and therefore denies

12   the remaining allegations in those sentences. Thomson SA lacks knowledge or information

13   sufficient to form a belief about the truth of the allegations in sentences seven and eight and

14   therefore denies them. Thomson SA denies the allegations in sentence nine. With regard to the

15   allegations in the tenth sentence, Thomson SA admits that Brunk’s employment with Thomson

16   Consumer ended in July 2006, but lacks information sufficient to form a belief regarding with

17   whom Brunk was employed after leaving Thomson Consumer and therefore denies that he

18   transitioned to work for TDA. Thomson SA further admits that Hanrahan’s employment with

19   Thomson Consumer ended in February 2012, but lacks information sufficient to form a belief

20   regarding with whom Hanrahan was employed after leaving Thomson Consumer and therefore

21   denies that he transitioned to work for IDA. Thomson SA lacks knowledge or information

22   sufficient to form a belief about the truth of the allegations in sentence eleven. Sentence twelve

23   contains only a definitional allegation, to which no response is required and which Thomson SA

24   therefore denies. Thomson SA denies that any of the allegations in Paragraph 33 concerning

25   Thomson Consumer’s agreement with TDA support in any way Plaintiffs’ allegations that Thomson

26   SA violated any laws. Thomson SA denies any remaining allegations in Paragraph 33,

27           15.     To the extent that the allegations in Paragraph 90 relate to persons or entities other

28   than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as to
     AMENDED ANSWER OF THOMSON SA TO                7                          No. 07-5944-SC; MDL No, 1917
     BEST BUY CO.. INC.. ET AL’S COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 10 of 22



 1   their truth and therefore denies them. To the extent that the allegations in Paragraph 90 relate to

 2   Thomson SA, Thomson SA denies these allegations.

 3           16.      To the extent that the allegations in Paragraph 91 relate to persons or entities other

 4   than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as to

 5   their truth and therefore denies them, except that it admits that TCL Thomson was a joint venture

 6   formed between Thomson SA and TCL International Holdings Ltd. Thomson SA ceased any

 7   ownership or interest in TCL Thomson in 2010. Thomson SA denies any remaining allegations in

 8   Paragraph 91.

 9           17.      With regard to the allegations in Paragraphs 151 and 153 of Plaintiffs’ Complaint,

10   Thomson SA admits that the allegations quote parts of its Annual Reports, but denies any emphasis

11   or alterations in the quoted text, denies that it admitted to any wrongdoing in its Annual Reports,

12   and denies that Plaintiffs have accurately or completely interpreted, characterized, or stated the

13   substance or context of the quoted statements. Thomson SA denies any remaining allegations in

14   Paragraphs 151 and 153.

15           18.      With regard to the allegations in Paragraph 152 of Plaintiffs’ Complaint, Thomson

16   SA states that the use of the term "Thomson" renders these paragraphs vague and uncertain as to

17   Thomson SA. To the extent that the allegations purport to characterize written documents,

18   Thomson SA denies that Plaintiffs have accurately or completely interpreted, characterized, or

19   stated the substance or context of the written documents and therefore denies those allegations.

20   Thomson SA admits that the European Commission investigated CRT price-fixing and levied fines

21   against various companies, including a fine of 38,631,000 million against Thomson SA in 2012

22   and that its fine was reduced due to Thomson SA’s cooperation and inability to pay, but denies that

23   any allegations, conduct, or cooperation in Europe support in any way Plaintiffs’ allegations that

24   Thomson SA violated United States antitrust laws or that alleged conduct in Europe had any

25   relation to the United States CRT market. Thomson SA denies any and all remaining allegations in

26   Paragraph 152.

27           19.      With regard to the allegations in Paragraph    154 of Plaintiffs’ Complaint, Thomson
28   SA states that any references to "Thomson" are vague and ambiguous and admits solely that it
     AMENDED ANSWER OF THOMSON SA TO                8                          No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL.’S COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 11 of 22



 I   retained at least a de minimis ownership interest in Videocon between 2005 and the end of the

 2   allegedly Relevant Period and with regard to which Thomson SA incorporates by reference its

 3   responses to sentences six and ten of Paragraph 27. To the extent that the allegations relate to

 4   persons or entities other than Thomson SA, Thomson SA lacks knowledge or information sufficient

 5   to form a belief as to their truth and therefore denies them. To the extent that the allegations relate

 6   to Thomson SA, Thomson SA denies these allegations. To the extent that the allegations purport to

 7   characterize written documents and deposition testimony, Thomson SA denies that Plaintiffs have

 8   accurately or completely interpreted, characterized, or stated the substance or context of the written

 9   documents and therefore denies those allegations. Thomson SA denies that it engaged in, or

10   conspired with others to engage in, any violations of United States antitrust laws. Thomson SA

11   further denies that the alleged actions of individuals in Paragraph 154 would, if proven, be

12   imputable to Thomson SA and that they relate to the sale of CRTs in the United States.

13           20.    To the extent that the allegations in Paragraph 155 relate to persons or entities other

14   than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as to

15   their truth and therefore denies them. To the extent that the allegations in Paragraph 155 purport to

16   characterize written documents and deposition testimony, Thomson SA denies that Plaintiffs have

17   accurately or completely interpreted, characterized, or stated the substance or context of the written

18   documents and deposition testimony and therefore denies those allegations. To the extent that the

19   remaining allegations in Paragraph 155 relate to Thomson SA, Thomson SA denies these

20   allegations.

21           21.    With regard to the allegations in Paragraph 156, Thomson SA states that the use of

22   the term "Thomson" renders the allegations vague and uncertain as to Thomson SA. To the extent

23   that the allegations relate to persons or entities other than Thomson SA, Thomson SA lacks

24   knowledge or information sufficient to form a belief as to their truth and therefore denies them. To

25   the extent that the allegations purport to characterize written documents and deposition testimony,

26   Thomson SA denies that Plaintiffs have accurately or completely interpreted, characterized, or

27   stated the substance or context of the written documents and deposition testimony and therefore

28
     AMENDED ANSWER OF THOMSON SATO                 9                          No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL’S COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 12 of 22



 I   denies those allegations. To the extent that the allegations relate to Thomson SA, Thomson SA

 2   denies these allegations.

 3           22.     With regard to the allegations in Paragraph 158, Thomson SA states that the use of

 4   the term "Thomson" renders the allegations vague and uncertain as to Thomson SA. To the extent

 5   that the allegations relate to persons or entities other than Thomson SA, Thomson SA lacks

 6   knowledge or information sufficient to form a belief as to their truth and therefore denies them.

 7   With respect to the allegations contained in the sixth sentence, Thomson SA admits that Didier

 8   Trutt received and occupied a seat on Videocon’s board until 2009, but denies the remaining

 9   allegations in the sixth sentence. To the extent that the allegations in Paragraph 158 relate to

10   Thomson SA, Thomson SA denies these allegations. Thomson SA denies that any of the

ii   allegations in Paragraph 158 concerning Thomson SA’s agreement with and continued interest in

12   Videocon support in any way Plaintiffs’ allegations that Thomson SA violated any laws.

13           23.     With regard to the allegations in Paragraph 159, Thomson SA states that the use of

14   the term "Thomson" renders the allegations vague and uncertain as to Thomson SA. Thomson SA

15   admits that Brunk’s employment with Thomson Consumer ended in July 2006, but lacks

16   information sufficient to form a belief regarding with whom Brunk was employed after leaving

17   Thomson Consumer and therefore denies that he transitioned to work for TDA. Thomson SA

18   further admits that Hanrahan’s employment with Thomson Consumer ended in February 2012, but

19   lacks information sufficient to form a belief regarding with whom Hanrahan was employed after

20   leaving Thomson Consumer and therefore denies that he transitioned to work for TDA. Thomson

21   SA denies that Brunk and Hanrahan attended conspiracy meetings on behalf of Thomson Consumer

22   or Thomson SA. To the extent that the remaining allegations relate to persons or entities other than

23   Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as to their

24   truth and therefore denies them. To the extent that the remaining allegations relate to Thomson SA,

25   Thomson SA denies these allegations. Thomson SA denies that any of the allegations in Paragraph

26   159 concerning Thomson Consumer’s agreement with TDA support in any way Plaintiffs’

27   allegations that Thomson SA violated any laws.

28
     AMENDED ANSWER OF THOMSON SA TO              10                         No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL.’S COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 13 of 22



 I           24.     With regard to the allegations in Paragraphs 197 and 207 of Plaintiffs’ Complaint,

 2   Thomson SA states that the use of the term "Thomson" renders these paragraphs vague and

 3   uncertain as to Thomson SA and therefore denies such allegations to the extent not expressly

 4   admitted herein. Thomson SA admits that the European Commission opened an investigation, but

 5   lacks knowledge or information sufficient to form a belief as to the truth of the remaining

 6   allegations regarding the scope or timing of the investigations and therefore denies them. Thomson

 7   SA admits that the European Commission alleged that several companies, including Thomson SA,

 8   engaged in anticompetitive conduct in Europe and levied a fine of 38,631,000 million against

 9   Thomson SA in 2012, but denies that the European Commission’s investigation or allegations in

10   Europe support in any way Plaintiffs’ allegations that Thomson SA violated any United States

11   antitrust laws or that alleged conduct in Europe had any relation to the United States CRT market.

12   Thomson SA denies any remaining allegations in Paragraphs 197 and 207.

13           25.     To the extent Paragraph 251 consists of legal contentions, no response is required.

14   To the extent that Paragraph 251 purports to characterize a written document, Thomson SA denies

15   that Plaintiffs accurately or completely interpreted, characterized, or stated the substance or context

16   of the written document and therefore denies the allegations in Paragraph 25 1. Thomson SA further

17   states that any references to "Thomson" are vague and ambiguous and therefore denies such

18   allegations to the extent not expressly admitted herein. Thomson SA further denies that it

19   participated in any conspiracy to violate antitrust laws or engaged in any efforts to conceal such a

20   conspiracy. Thomson SA denies any remaining allegations in Paragraph 251.

21           26.     With regard to Paragraphs 263 and 270, Thomson SA incorporate by reference all of

22   the above responses and statements.

23           27.     With regard to Paragraphs 271 through 276, Thomson SA states that Plaintiffs’

24   Minnesota state-law claims have been dismissed and, therefore, no response is required. To the

25   extent a response is required and the allegations in those paragraphs relate to persons or entities

26   other than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief

27   about their truth and, therefore, denies them. To the extent a response is required and the

28   allegations relate to Thomson SA, Thomson SA denies them.
     AMENDED ANSWER OF THOMSON SA TO                11                         No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL.’S COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 14 of 22



 1                                                   DEFENSES

 2           Without assuming any burden it would not otherwise bear, and reserving its right to amend

 3   its Answer to assert additional defenses as they may become known during discovery, Thomson SA

 4   asserts the following separate, additional, and/or affirmative defenses:

 5                                                 FIRST DEFENSE

 6                                           (Failure to State a Claim)

 7           The Complaint fails to state a claim upon which relief can be granted.

 8                                                SECOND DEFENSE

 9                                            (Statute of Limitations)

10           Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in party,

11   by the applicable statutes of limitations.

12                                                THIRD DEFENSE

13                                 (Failure to Plead Fraud with Particularity)

14           The statutes of limitations are not tolled because Plaintiffs have failed to plead fraudulent

15   concealment with the particularity required by Rule 9(b) of the Federal Rules of Civil Procedure.

16                                                FOURTH DEFENSE

17                              (Failure to Plead Conspiracy with Particularity)

18           Plaintiffs’ claims are barred in whole or part because the Complaint fails to plead conspiracy

19   with particularity required under applicable law.

20                                                FIFTH DEFENSE

21                                                  (Withdrawal)

22           Plaintiffs’ claims are barred, in whole or in part, by reason of Thomson SA’s withdrawal

23   from or abandonment of any alleged conspiracy.

24                                                SIXTH DEFENSE

25                                 (Claim Splitting and Election of Remedies)

26           Plaintiffs’ claims are barred, in whole or in part, by reason of claim splitting and by the

27   doctrine of the election of remedies.

28
     AMENDED ANSWER OF THOMSON SA TO                 12                         No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL’S COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 15 of 22



 1                                            SEVENTH DEFENSE

 2                                                    (Laches)

 3           Plaintiffs’ claims are barred, in whole or in part, under the doctrine of laches.

 4                                            EIGHTH DEFENSE

 5                                   (Estoppel, Waiver, or Unclean Hands)

 6          Plaintiffs’ claims are barred, in whole or in part, under the doctrines of estoppel, waiver,

 7   and/or unclean hands.

 8                                              NINTH DEFENSE

 9                                          (Reasonable Justification)

10           Plaintiffs’ claims are barred, in whole or in part, because all of the actions of Thomson SA

11   being challenged by Plaintiffs were lawful, justified, procompetitive, constitute bona fide business

12   competition, and were carried out in furtherance of Thomson SA’s legitimate business interests.

13                                             TENTH DEFENSE

14                                                (Acquiescence)

15          Plaintiffs’ claims are barred, in whole or in part, by reason of Plaintiffs’ acquiescence to the

16   conduct of Thomson SA.

17                                           ELEVENTH DEFENSE

18                             (Accord and Satisfaction, Release and Settlement)

19          Plaintiffs’ claims are barred, in whole or in part, by the doctrines of accord and satisfaction,

20   release and settlement.

21                                           TWELFTH DEFENSE

22                                  (Government Privilege/Non-actionable)

23          Plaintiffs’ claims are barred, in whole or in part, because the conduct of Thomson SA

24   alleged in the Complaint was caused by, due to, based upon, or in response to directives, laws,

25   regulations, policies, and/or acts of governments, governmental agencies and entities, and/or

26   regulatory agencies, and as such is non-actionable or privileged.

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     AMENDED ANSWER OF TI IOMSON SA TO              13                          No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC.. ET AL’S COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 16 of 22



 1                                         THIRTEENTH DEFENSE

 2                                              (Lack of Standing)

 3           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs lack standing to bring the

 4   claims asserted in the Complaint.

 5                                        FOURTEENTH DEFENSE

 6                                                 (Ultra Vires)

 7           Plaintiffs’ claims are barred, in whole or in part, because, to the extent that any employee or

 8   agent of Thomson SA engaged in any unlawful act or omission, any such act or omission would

 9   have been committed by individuals acting ultra vires.

10                                            FIFTEENTH DEFENSE

11                                             (Intervening Causes)

12           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ alleged injuries, if any,

13   stemmed from intervening or superseding causes.

14                                            SIXTEENTH DEFENSE

15                                          (Lack of Antitrust Injury)

16           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have not suffered an

17   antitrust injury.

18                                        SEVENTEENTH DEFENSE

19                                            (No Act of Thomson SA)

20           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have not been injured in

21   their business or property by reason of any action of Thomson SA.

22                                         EIGHTEENTH DEFENSE

23                                            (Speculative Damages)

24           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ alleged damages, if any,

25   are speculative and because of the impossibility of the ascertainment and allocation of such alleged

26   damages.

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     AMENDED ANSWER OF THOMSON SA TO                14                          No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL.’S COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 17 of 22



 1                                          NINETEENTH DEFENSE

 2                                       (Failure to Mitigate Damages)

 3           Plaintiffs’ claims are barred from recovery of damages, in whole or in part, because of and

 4   to the extent of Plaintiffs’ failure to mitigate damages.

 S                                          TWENTIETH DEFENSE

 6                                                (Pass Through)

 7           Plaintiffs’ claims for an illegal overcharge are barred, in whole or in part, to the extent that

 8   such overcharge was absorbed, in whole or in part, by others, and was not passed through to

 9   Plaintiffs.

10                                        TWENTY-FIRST DEFENSE

                                            (Available Remedy at Law)

12           Plaintiffs’ claims or causes of action for injunction or other equitable relief are barred, in

13   whole or in part, because Plaintiffs have available an adequate remedy at law.

14                                      TWENTY-SECOND DEFENSE

15                                 (Lack of Standing for Prospective Relief)

16           Plaintiffs’ claims or causes of action are barred, in whole or in part, because Plaintiffs seek

17   to enjoin alleged events that have already transpired and without the requisite showing of threatened

18   future harm or continuing violation.

19                                       TWENTY-THIRD DEFENSE

20                                                  (Vagueness)

21           Plaintiffs’ claims should be dismissed for uncertainty and vagueness and because their

22   claims are ambiguous or unintelligible. Plaintiffs do not describe the events or legal theories with

23   sufficient particularity to permit Thomson SA to ascertain what other defenses may exist.

24                                      TWENTY-FOURTH DEFENSE

25                                             (Unjust Enrichment)

26           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs would be unjustly

27   enriched if they were allowed to recover any part of the damages alleged in the Complaint.

28
     AMENDED ANSWER OF THOMSON SA TO                15                         No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL.’S COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 18 of 22



 1                                        TWENTY-FIFTH DEFENSE

 2                                                  (Restitution)

 3           Plaintiffs’ claims are barred from recovery of damages, in whole or in part, to the extent that

 4   any restitution or award of damages to Plaintiffs would be excessive and punitive, and

 5   disproportionate to any alleged injury suffered by Plaintiffs.

 6                                       TWENTY-SIXTH DEFENSE

 7                                             (Comparative Fault)

 8           Plaintiffs’ claims are barred, in whole or in part, to the extent the injuries alleged in the

 9   Complaint were directly and proximately caused by or contributed to by the statements, acts, or

10   omissions of Plaintiffs or third persons or entities unaffiliated with Thomson SA.

11                                     TWENTY-SEVENTH DEFENSE

12                                    (Res Judicata or Collateral Estoppel)

13           Plaintiffs’ claims are barred, in whole or in part, by the doctrines of res judicata or collateral

14   estoppel.

15                                      TWENTY-EIGHTH DEFENSE

16                               (Foreign Trade Antitrust Improvements Act)

17           Plaintiffs’ claims are barred, in whole or in part, because plaintiffs have failed to allege facts

18   sufficient to support a claim under the Foreign Trade Antitrust Improvements Act, 15 U.S.C. § 6a.

19                                       TWENTY-NINTH DEFENSE

20                                                (Foreign Sales)

21           Plaintiffs’ claims are barred, in whole or in part, to the extent Plaintiffs seek to recover

22   damages, if any, based on sales outside of the United States.

23                                           THIRTIETH DEFENSE

24                                              (Improper Joinder)

25           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ claims are improperly

26   joined within the meaning of Rule 20 of the Federal Rules of Civil Procedure because they did not

27   arise out of the same transaction, occurrence, or series of transactions or occurrences and do not

Im   involve questions of law or fact common to all defendants.
     AMENDED ANSWER OF THOMSON SA TO                 16                          No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL.’S COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 19 of 22



 1                                        THIRTY-FIRST DEFENSE

 2                                       (Failure to Exhaust Remedies)

 3           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs failed to exhaust all

 4   remedies against the parties with whom each Plaintiff is in privity.

 5                                      THIRTY-SECOND DEFENSE

 6                                          (No Multiple Recoveries)

 7           Plaintiffs’ claims are barred, in whole or in part, to the extent they would result in Thomson

 8   SA paying damages to more than one claimant for the same alleged overcharge, because such

 9   multiple recoveries would violate rights guaranteed to the Thomson SA by applicable states’ laws

10   and the United States Constitution, including, without limitation, rights guaranteed under the Due

     Process Clause of the Fourteenth Amendment.

12                                       THIRTY-THIRD DEFENSE

13                                       (Voluntary Payment Doctrine)

14           Plaintiffs’ claims are barred, in whole or in part, by the voluntary payment doctrine, under

15   which Plaintiffs are not entitled to recover payments made with full knowledge of the facts.

16                                      THIRTY-FOURTH DEFENSE

17                                                  (Set Oft)
             Without admitting that Plaintiffs are entitled to recover damages from Thomson SA in this
18

19   matter, Thomson SA is entitled to set off from any recovery Plaintiffs obtain against Thomson SA

20   any amount paid to under settlements with other defendants in this or related matters.

21
                                          THIRTY-FIFTH DEFENSE
22
                                                    (Privilege)
23
             Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,
24
     because any action taken by or on behalf of Thomson SA was justified, constituted bona fide
25
     business competition, and was taken in pursuit of its own legitimate business and economic interests
26
     and is therefore privileged.
27

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     AMENDED ANSWER OF THOMSON SA TO                17                        No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., FT AL.’S COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 20 of 22



 1                                          THIRTY-SIXTH DEFENSE

 2                                          (Noerr-Pennington Doctrine)

 3             Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

 4   by the doctrine of Noerr-Pennington.

 5                                        THIRTY-SEVENTH DEFENSE

 6                                            (Forum Non Conveniens)

 7             The Complaint should be dismissed on the grounds of forum non conveniens to the extent

 8   the claims are governed by the laws of foreign states.

 9                                         THIRTY-EIGHTH DEFENSE

10                                                (Improper Venue)

11             Plaintiffs’ claims are barred, in whole or in part, because venue does not lie in this Court.

12                                          THIRTY-NINTH DEFENSE

13                                        (Improper Forum/Arbitration)

14             Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

15   because Plaintiffs have agreed to arbitration or chose a different forum for the resolution of their

16   claims.

17                                             FORTIETH DEFENSE

18                                             (Intervening Conduct)

19             Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

20   because any alleged injuries and damages were not legally or proximately caused by any acts or

21   omissions of the Thomson SA or were caused, if at all, solely and proximately by the conduct of

22   third parties, including, without limitations, the prior, intervening, or superseding conduct of such

23   third parties.

24                                           FORTY-FIRST DEFENSE

25                                     (Lack of Subject Matter Jurisdiction)

26             This Court lacks subject-matter jurisdiction over Plaintiffs’ claims pursuant to, but not

27   limited to, the Foreign Trade Antitrust Improvements Act, and because the conduct alleged to

28
     AMENDED ANSWER OF THOMSON SA TO                  18                          No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL.’ S COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 21 of 22



 I   provide a basis for Plaintiffs’ claims did not have a direct, substantial, and reasonably foreseeable

 2   effect on trade or commerce within the United States.

 3                                        FORTY-SECOND DEFENSE

 4                                                (Indispensable Parties)

 5           Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

 6   for failure to join indispensable parties.

 7                                           FORTY-THIRD DEFENSE

 8                                    (Incorporation of Defenses of Others)

 9           Thomson SA adopts by reference any applicable defense pleaded by any other defendant not

10   otherwise expressly set forth herein.

11                                        FORTY-FOURTH DEFENSE

12                                       (Reservation of Other Defenses)

13           Thomson SA reserves the right to assert other defenses as this action proceeds up to and

14   including the time of trial.

15                                  THOMSON SA’S PRAYER FOR RELIEF

16           WHEREFORE, Thomson SA prays for judgment as follows:

17           1.         That Plaintiffs take nothing by reason of the Complaint, and that the action be

18   dismissed with prejudice;

19           2.         That the Court enter judgment in favor of Thomson SA and against Plaintiffs with

20   respect to all causes of action in the Complaint;

21           3.         That the Court award Thomson SA its attorneys’ fees and other costs reasonably

22   incurred in the defense of this action; and

23           4.         That the Court award Thomson SA such other further relief as the Court may deem

24   just and proper.

25
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     AMENDED ANSWER OF THOMSON SA TO                    19                     No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL’S COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-4 Filed 12/18/14 Page 22 of 22



 1   Dated: January     , 2015                     Respectfully submitted,

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 3
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     AMENDED ANSWER OF THOMSON SA TO          20                       No. 07-5944-SC; MDL No. 1917
     BEST BUY CO., INC., ET AL.’S COMPLAINT
